 Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 1 of 21 PageID #: 48




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS LLC,

                            Plaintiff,
                                                        C.A. No. 19-1021-RGA
           v.
                                                     JURY TRIAL DEMANDED
DURACELL INC.,

                            Defendant.


             DURACELL’S OPENING BRIEF IN SUPPORT OF ITS
           MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

                                         FISH & RICHARDSON P.C.
                                         Jeremy D. Anderson (#4515)
                                         222 Delaware Ave., 17th Floor
                                         Wilmington, DE 19801
                                         (302) 652-5070 Telephone
                                         (302) 652-0607 Facsimile
                                         janderson@fr.com

                                         Neil J. McNabnay
                                         Ricardo J. Bonilla
                                         Theresa M. Dawson
                                         Rodeen Talebi
                                         1717 Main Street, Suite 5000
                                         Dallas, TX 75201
                                         (214) 747-5070 (Telephone)
                                         (214) 747-2091 (Facsimile)
                                         mcnabnay@fr.com
                                         rbonilla@fr.com
                                         tdawson@fr.com
                                         talebi@fr.com

                                         ATTORNEYS FOR DEFENDANT
                                         DURACELL U.S. OPERATIONS, INC.

     Dated: June 25, 2019
     Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 2 of 21 PageID #: 49




                                                TABLE OF CONTENTS
                                                                                                                  Page(s)

I.       SUMMARY OF THE ARGUMENT ......................................................................1
II.      NATURE AND STAGE OF PROCEEDINGS .......................................................1
III.     STATEMENT OF THE FACTS .............................................................................2
IV.      LEGAL STANDARDS ...........................................................................................4
         A.        Legal Standard for Dismissal Pursuant to Rule 12(b)(6). ............................4
                   1.         This Case Should Be Disposed of at the Pleading Stage
                              Through Rule 12(b)(6). ....................................................................4
                   2.         The Law of 35 U.S.C. § 101. ...........................................................5
V.       ARGUMENT ...........................................................................................................6
         A.        The ’752 Patent is Invalid Under § 101. ......................................................6
                   1.         Alice Step 1: Claim 1 of the ’752 Patent is directed to the
                              abstract idea of data recognition and retrieval. ................................6
                   2.         Alice Step 2: Claim 1 of the ’752 Patent contains no
                              inventive concept sufficient to transform the abstract idea
                              into patent-eligible matter. .............................................................12
                   3.         The remaining claims fail both steps of the Alice test. ..................15
         B.        The Disproportionate Risk of Preemption Confirms that the
                   Claims Are Abstract. ..................................................................................16
VI.      CONCLUSION ......................................................................................................17




                                                                   i
  Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 3 of 21 PageID #: 50




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Alice Corp. Pty. Ltd. v. CLS Bank Int’l,
    134 S. Ct. 2347 (2014) ..................................................................................................... passim
Ancora Technologies, Inc. v. HTC America, Inc.,
   908 F.3d 1343 (Fed. Cir. 2018)..........................................................................................11, 12
Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...................................................................................................................4
Bancorp Servs. L.L.C. v. Sun Life Assur. Co.,
   687 F.3d 1266 (Fed. Cir. 2012)............................................................................................4, 15
Berkheimer v. HP Inc.,
   881 F.3d 1360 (Fed. Cir. 2018)................................................................................................14
Bilski v. Kappos,
    561 U.S. 593 (2010) .......................................................................................................4, 5, 6, 7
buySAFE, Inc. v. Google, Inc.,
   765 F.3d 1350 (Fed. Cir. 2014)................................................................................................14
Clear with Computers, LLC v. Dick’s Sporting Goods, Inc.,
   21 F. Supp. 3d 758 (E.D. Tex. 2014) .......................................................................................16
Content Extraction and Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n,
   776 F.3d 1343 (Fed. Cir. 2014)........................................................................................ passim
Cuvillier v. Taylor,
   503 F.3d 397 (5th Cir. 2007) .....................................................................................................4
Cyberfone Sys., LLC v. CNN Interactive Grp., Inc.,
   558 F. App’x 988 (Fed. Cir. 2014) ..........................................................................................11
CyberSource Corp. v. Retail Decisions, Inc.,
   654 F.3d 1366 (Fed. Cir. 2011)..................................................................................................5
DDR Holdings, LLC v. Hotels.com, L.P.,
  773 F.3d 1245 (Fed. Cir. 2014)................................................................................................13
Diamond v. Chakrabarty,
   447 U.S. 303 (1980) ...................................................................................................................5
Diamond v. Diehr,
   450 U.S. 175 (1981) ...................................................................................................................6
Enfish, LLC v. Microsoft Corp.,
   822 F.3d 1327 (Fed. Cir. 2016)................................................................................................13
Fort Props., Inc. v. Am. Master Lease LLC,
   671 F.3d 1317 (Fed. Cir. 2012)..................................................................................................6

                                                                    ii
  Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 4 of 21 PageID #: 51




Gottschalk v. Benson,
   409 U.S. 63 (1972) .....................................................................................................................5
Indep. Trust Corp. v. Stewart Info. Servs. Corp.,
   665 F.3d 930 (7th Cir. 2012) .....................................................................................................4
Intellectual Ventures I LL v. Capital One Bank U.S.A.,
    792 F.3d 1363 (Fed. Cir. 2015)................................................................................................15
Intellectual Ventures I LLC v. Capital One Fin. Corp.,
    850 F.3d 1332 (Fed. Cir. 2017)................................................................................................10
Internet Patents Corp. v. Active Network, Inc.,
    790 F.3d 1343 (Fed. Cir. 2015)................................................................................................12
Loyalty Conversion Sys. Corp. v. Am. Airlines, Inc.,
   66 F. Supp. 3d 829 (E.D. Tex. 2014) .......................................................................................17
Mayo Collaborative Servs. v. Prometheus Labs., Inc.,
  132 S. Ct. 1289 (2012) ...........................................................................................................5, 6
Parker v. Flook,
   437 U.S. 584 (1978) ...................................................................................................................6
Phoenix Licensing, L.L.C. v. Consumer Cellular, Inc.,
   2:16-cv-152-JRG-RSP, 2017 WL 1065938 (E.D. Tex. Mar. 8, 2017) ......................................7
Recognicorp, LLC v. Nintendo Co., Ltd.,
   855 F.3d 1322 (Fed. Cir. 2017)................................................................................9, 10, 11, 14
SAP Am., Inc. v. InvestPic, LLC,
   898 F.3d 1161 (Fed. Cir. 2018)..................................................................................................7
Secured Mail Solutions LLC v. Universal Wilde, Inc.,
   873 F.3d 905 (Fed. Cir. 2017).......................................................................................... passim
In re TLI Commc’ns LLC Patent Litig.,
    823 F.3d 607 (Fed. Cir. 2016)..................................................................................................13
Ultramercial, Inc. v. Hulu, LLC,
    772 F.3d 709 (Fed. Cir. 2014) (Mayer, J., concurring)..............................................4, 8, 11, 12




                                                                    iii
     Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 5 of 21 PageID #: 52




I.        SUMMARY OF THE ARGUMENT

          Duracell U.S. Operations, Inc. (“Duracell”)1 requests that the Court dismiss this case

because U.S. Patent No. 8,424,752 (the “’752 Patent”) does not embrace patent-eligible subject

matter. The claims of the ’752 Patent are directed to the abstract idea of data recognition and

retrieval, and none of the claims recites any specific non-conventional hardware or software. In

Secured Mail Solutions LLC v. Universal Wilde, Inc., 873 F.3d 905, 912 (Fed. Cir. 2017), the

Federal Circuit held claims directed to decoding a QR code—like the claims at issue in this

case—invalid under Alice, and affirmed the district court’s grant of a motion to dismiss pursuant

to Rule 12(b)(6) of the Federal Rules of Civil Procedure. The claims of the ’752 Patent cannot be

meaningfully distinguished from the Secured Mail claims and are thus invalid for the same

reasons.

          Resolving this issue does not require discovery or formal claim construction. To avoid

waste of judicial and party resources unnecessarily litigating an invalid patent, Duracell thus

requests that the Court dismiss the Complaint pursuant to Rule 12(b)(6) of the Federal Rules of

Civil Procedure for failure to state a claim upon which relief can be granted.

II.       NATURE AND STAGE OF PROCEEDINGS

          On June 2, 2019, Plaintiff Symbology Innovations, LLC (“Symbology”) filed this lawsuit

accusing Duracell of infringing the ’752 Patent. Symbology accuses Duracell of infringing “at

least Claim 1” of the ’752 Patent by Duracell’s alleged “internal testing” of a Quick Response

Code (“QR code”) incorporated into promotional material:




1
    Duracell Inc. is a non-existent legal entity.


                                                    1
  Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 6 of 21 PageID #: 53




Compl. ¶¶ 17–22 (annotated).

III.    STATEMENT OF THE FACTS

        The ’752 Patent is entitled “System and Method for Presenting Information about an

Object on a Portable Electronic Device.” It is directed to “enabling a portable electronic device

to retrieve information about an object when the object’s symbology, e.g., a barcode, is

detected.” ’752 Pat., Abstract.

        Claim 1 of the ’752 Patent, set forth below, is representative of the claims:

        1. A method comprising:

            capturing a digital image using a digital image capturing device that is part of a
               portable electronic device;

            detecting symbology associated with an object within the digital image using a
                portable electronic device;

            decoding the symbology to obtain a decode string using one or more visual
               detection applications residing on the portable electronic device;

            sending the decode string to a remote server for processing;

            receiving information about the object from the remote server wherein the
                information is based on the decode string of the object;

            displaying the information on a display device associated with the portable
                electronic device.

’752 Pat., Cl. 1.




                                                  2
 Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 7 of 21 PageID #: 54




       Under Symbology’s characterization of the ’752 Patent, this claim can be broken down

into six main steps: (1) capturing an image with a camera or a scanner on a “portable electronic

device” (e.g., taking a photograph or scanning an image with a smartphone); (2) detecting a

symbology (e.g., recognizing a barcode in the captured image); (3) decoding the symbology to

obtain a “decode string” (e.g., reading information from the barcode); (4) sending the “decode

string” to a “server” for processing (e.g., requesting a webpage based on the information

obtained from the barcode); (5) receiving information from the “server” in response (e.g.,

receiving the contents of the webpage ); and (6) displaying the information received on the

portable electronic device (e.g., displaying a webpage). Put simply, these steps are directed to

recognizing and retrieving information associated with a pattern.

       The applicant made clear through his own language in the specification that the

components and processes for carrying out the claimed method were conventional. For example,

the claimed “portable electronic device” can be virtually any mobile device capable of taking a

photograph or scanning an image. Id., 1:58–61 (“Examples of the portable electronic devices that

contain both applications and imaging systems include Apple Computer’s IPhone, Google’s

Droid, and various mobile devices from Motorola”); id., 2:57–61 (“Using any applicable visual

detection device (e.g., a camera, scanner, or other device) on the portable electronic device, the

user may select an object by scanning or capturing an image of symbology (e.g., barcodes)

associated with the object.”). The applicant further acknowledged that various programs and

applications operable on a portable electronic device to scan and decode a barcode were

available in the prior art. Id., 3:29–33 (“Examples of applications that allow scanning include

Neomedia’s Neo Reader, Microsoft’s Smart Tags, Android’s Shop Savvy, Red Laser, ScanBuy,

etc.”). According to the ’752 Patent, once a barcode is decoded (using any of these existing

applications), the “decode string” (i.e., the information obtained from the barcode) is then “sent”

                                                 3
  Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 8 of 21 PageID #: 55




to a “remote server” to retrieve information (e.g., webpage content) that is then displayed on the

portable electronic device. Id., 3:21–28.

IV.    LEGAL STANDARDS

       A.      Legal Standard for Dismissal Pursuant to Rule 12(b)(6).

               1.      This Case Should Be Disposed of at the Pleading Stage Through Rule
                       12(b)(6).

       Under Rule 12(b)(6) of the Federal Rules of Civil Procedure, a party may move to

dismiss a complaint that fails to state a claim upon which relief can be granted. To survive a Rule

12(b)(6) motion, a complaint must provide “allegations that raise a right to relief above the

speculative level.” Indep. Trust Corp. v. Stewart Info. Servs. Corp., 665 F.3d 930, 935 (7th Cir.

2012). Although factual allegations are taken as true, legal conclusions are given no deference—

those matters are left for the court to decide. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(tenet that allegations are taken as true on a motion to dismiss “is inapplicable to legal

conclusions”). “[W]hen the allegations in a complaint, however true, could not raise a claim of

entitlement to relief [as a matter of law], this basic deficiency should . . . be exposed at the point

of minimum expenditure of time and money by the parties and the court.” Cuvillier v. Taylor,

503 F.3d 397, 401 (5th Cir. 2007) (internal citations and quotations omitted).

       Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos, 561 U.S.

593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the pleadings stage if it is

apparent from the face of the patent that the asserted claims are not directed to eligible subject

matter. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 718-19 (Fed. Cir. 2014) (Mayer, J.,

concurring). In those situations, claim construction is not required to conduct a § 101 analysis.

Bancorp Servs. L.L.C. v. Sun Life Assur. Co., 687 F.3d 1266, 1273 (Fed. Cir. 2012) (“[W]e




                                                   4
 Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 9 of 21 PageID #: 56




perceive no flaw in the notion that claim construction is not an inviolable prerequisite to a

validity determination under § 101.”).

               2.      The Law of 35 U.S.C. § 101.

       Section 101 of the Patent Act sets forth four categories of patentable subject matter: “any

new and useful process, machine, manufacture, or composition of matter.” 35 U.S.C. § 101.

Also, the law recognizes three exceptions to patent eligibility: “laws of nature, physical

phenomena, and abstract ideas.” Diamond v. Chakrabarty, 447 U.S. 303, 308 (1980) (emphasis

added). Abstract ideas are ineligible for patent protection because a monopoly over these ideas

would preempt their use in all fields. See Bilski, 561 U.S. at 611–12. In other words, “abstract

intellectual concepts are not patentable, as they are the basic tools of scientific and technological

work.” Id. at 653 (quoting Gottschalk v. Benson, 409 U.S. 63, 67 (1972)).

       Determining whether a patent claim is impermissibly directed to an abstract idea involves

two steps. First, the court determines “whether the claims at issue are directed to a patent-

ineligible concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355 (2014).

Second, if the claim contains an abstract idea, the court evaluates whether there is “an ‘inventive

concept’—i.e., an element or combination of elements that is sufficient to ensure that the patent

in practice amounts to significantly more than a patent upon the ineligible concept itself.” Id.

(internal quotations and citations omitted).

       Transformation into a patent-eligible application requires “more than simply stating the

abstract idea while adding the words ‘apply it.’” Id. at 2357 (quoting Mayo Collaborative Servs.

v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012)). Indeed, if a claim could be performed

in the human mind, or by a human using pen and paper, it is not patent-eligible. CyberSource

Corp. v. Retail Decisions, Inc., 654 F.3d 1366, 1372 (Fed. Cir. 2011). Also, a claim is not

meaningfully limited if it includes only token or insignificant pre- or post-solution activity—such


                                                  5
 Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 10 of 21 PageID #: 57




as identifying a relevant audience, category of use, field of use, or technological environment.

Mayo, 132 S. Ct. at 1297–98, 1300-01; Bilski, 561 U.S. at 610; Diamond v. Diehr, 450 U.S. 175,

191–92 & n.14 (1981); Parker v. Flook, 437 U.S. 584, 595 n.18 (1978). Finally, “simply

appending conventional steps, specified at a high level of generality, to laws of nature, natural

phenomena, and abstract ideas cannot make those laws, phenomena, and ideas patentable.”

Mayo, 132 S. Ct. at 1300; see also Fort Props., Inc. v. Am. Master Lease LLC, 671 F.3d 1317,

1323 (Fed. Cir. 2012) (“Such a broad and general limitation does not impose meaningful limits

on the claim’s scope.”).

V.     ARGUMENT

       Symbology’s Complaint should be dismissed. The claims of the ’752 Patent are invalid

under 35 U.S.C. § 101 because they fail both steps of the Alice test. Each of the claims is

directed to the abstract idea of data recognition and retrieval. Abstract ideas are not eligible for

patenting. None of the claims contains an “‘inventive concept’ . . . sufficient to ensure that the

patent in practice amounts to significantly more than a patent upon the ineligible concept itself.”

See Alice, 134 S. Ct. at 2355 (emphasis added). Because Symbology has failed to state a claim

upon which relief may be granted, Duracell respectfully requests that the Court grant its motion

and dismiss this case with prejudice. Fed. R. Civ. P. 12(b)(6).

       A.      The ’752 Patent is Invalid Under § 101.

               1.      Alice Step 1: Claim 1 of the ’752 Patent is directed to the abstract idea
                       of data recognition and retrieval.

       In determining patent eligibility under § 101, the Court must first determine whether the

claims are directed to an abstract idea. Alice, 134 S. Ct. at 2355. Under any plausible reading, the

claims of the ’752 Patent are directed to an unpatentable, abstract idea because they claim




                                                  6
    Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 11 of 21 PageID #: 58




nothing more than the “longstanding,” “routine,” and “conventional” concept of data recognition

and retrieval. See Alice, 134 S. Ct. at 2356–59; Bilski, 561 U.S. at 611.

          Claim 1 of the ’752 Patent is representative of the claims.2 See, e.g., Phoenix Licensing,

L.L.C. v. Consumer Cellular, Inc., 2:16-cv-152-JRG-RSP, 2017 WL 1065938, at *8–9 (E.D.

Tex. Mar. 8, 2017) (invalidating 974 claims after analyzing only a few “representative claims”

where the other claims were “substantially similar” and “linked to the same abstract idea.”). In

assessing whether Claim 1 is directed to an abstract idea, the Court begins by analyzing the

“focus” of the claim, i.e., its “character as a whole,” in order to determine whether the claim is

directed to an abstract idea. SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1167 (Fed. Cir.

2018).

          All Claim 1 of the ’752 Patent covers is a way to use a barcode to obtain information in

order to access a webpage, consisting of nothing more than a set of basic ideas like capturing,

detecting, decoding, sending, receiving, and displaying data:

                              Claim Language                                     Claimed Idea

    A method comprising:

        capturing a digital image using a digital image capturing device     capturing data
    that is part of a portable electronic device;

       detecting symbology associated with an object within the digital      detecting data
    image using a portable electronic device;

       decoding the symbology to obtain a decode string using one or         decoding data
    more visual detection applications residing on the portable electronic
    device;

       sending the decode string to a remote server for processing;          sending data



2
  Where claims are “substantially similar and linked to the same abstract idea,” courts may look
to representative claims in a § 101 analysis. Content Extraction and Transmission LLC v. Wells
Fargo Bank, Nat’l Ass’n, 776 F.3d 1343, 1348 (Fed. Cir. 2014).

                                                   7
 Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 12 of 21 PageID #: 59




                            Claim Language                                     Claimed Idea

   receiving information about the object from the remote server           receiving data
 wherein the information is based on the decode string of the object.;

    displaying the information on a display device associated with the     displaying data
 portable electronic device.

        At a high level, this claim describes the most generic functional steps of a standard

computer (i.e., capturing, detecting, decoding, sending, receiving, and displaying data). Such a

broad concept is not patent eligible because it “recite[s] an abstraction—an idea, having no

particular concrete or tangible form.” Ultramercial, 772 F.3d at 715. That the claim purports to

implement the steps with conventional components like a “portable electronic device,” a “remote

server,” a “display device,” and generic “visual detection applications” does not make it any less

abstract.

        The specification admits that barcode scanning and decoding programs were prevalent at

the time of the invention. ’752 Pat., 3:29–36. Indeed, the claims implement this prior-art

technology to carry out the steps of capturing, detecting, decoding, and retrieving information

from a server. Claim 1 of the ’752 Patent does no more than use existing technology to recognize

an image, decode the image, then do something based upon the decoded information. It is thus

directed to the abstract idea of data recognition and retrieval.

        Courts have found similar patent claims to be ineligible. In Content Extraction, the

claims generally recited “a method of 1) extracting data from hard copy documents using an

automated digitizing unit such as a scanner, 2) recognizing specific information from the

extracted data, and 3) storing that information in a memory.” Content Extraction, 776 F.3d at

1345. The claimed method “could be performed by software on an automated teller machine

(ATM) that recognizes information written on a scanned check, such as the check’s amount, and



                                                  8
 Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 13 of 21 PageID #: 60




populates certain data fields with that information in a computer’s memory.” Id. The Federal

Circuit concluded in Alice’s first step that the claims were “drawn to the abstract idea of

1) collecting data, 2) recognizing certain data within the collected data set, and 3) storing that

recognized data in a memory”; or, put simply: “data recognition and storage.” Id. at 1347. In

rejecting the plaintiff’s argument that the claims were not abstract because they required the use

of a scanner, the Federal Circuit likened the claims to those found abstract in Alice, which “also

required a computer that processed streams of bits.” Id. Like the Content Extraction claims,

Claim 1 of the ’752 Patent is abstract because it simply decodes an image to obtain information

and then retrieves data from a server based on that information. The claims in Content Extraction

were directed to data recognition and storage, whereas the ’752 Patent is directed to data

recognition and retrieval—the former claims stored the recognized data, while the latter claims

retrieve additional data based on the recognized data.

       In Recognicorp, LLC v. Nintendo Co., Ltd., 855 F.3d 1322 (Fed. Cir. 2017), the Federal

Circuit found the patent claim at issue to be directed toward the abstract idea of “encoding and

decoding image data.” Recognicorp, 855 F.3d at 1324. The claim at issue in Recognicorp recited:

               A method for creating a composite image, comprising:

              displaying facial feature images on a first area of a first display via a first
       device associated with the first display, wherein the facial feature images are
       associated with facial feature element codes;

               selecting a facial feature image from the first area of the first display via a
       user interface associated with the first device;

               wherein the first device incorporates the selected facial feature image into a
       composite image on a second area of the first display, wherein the composite image
       is associated with a composite facial image code having at least a facial feature
       element code and wherein the composite facial image code is derived by
       performing at least one multiplication operation on a facial code using one or more
       code factors as input parameters to the multiplication operation; and




                                                  9
 Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 14 of 21 PageID #: 61




             reproducing the composite image on a second display based on the
       composite facial image code.

Id. The Federal Circuit described the claim as a “method whereby a user displays images on a

first display, assigns image codes to the images through an interface using a mathematical

formula, and then reproduces the image based on the codes.” Id. at 1326. The Federal Circuit

found that this method reflected “standard encoding and decoding.” Id.

       The Federal Circuit then explained that encoding and decoding data is “an abstract

concept long utilized to transmit information.” Id. (citing Intellectual Ventures I LLC v. Capital

One Fin. Corp., 850 F.3d 1332, 1340–41 (Fed. Cir. 2017) (organizing, displaying, and

manipulating data encoded for human- and machine-readability is directed to an abstract

concept)). The court provided several examples of long-utilized methods of encoding and

decoding of data to transmit information: “Morse code, ordering food at a fast food restaurant via

a numbering system, and Paul Revere’s ‘one if by land, two if by sea’ signaling system all

exemplify encoding at one end and decoding at the other end.” Id. Claim 1 of the ’752 Patent

likewise simply decodes an image to obtain information, an abstract concept.

       Additionally, in Secured Mail, the Federal Circuit found claims directed to encoding and

decoding a bar code invalid under both Alice steps. Secured Mail, 873 F.3d at 907. The Secured

Mail claims “provide[d] a method whereby a barcode is generated, affixed to a mail object, and

sent through the mail system [and t]hen, upon receipt, the barcode is scanned, and data

corresponding to the sender is sent to the recipient over the network and displayed on the

recipient’s device.” Id. at 910–11. The Federal Circuit found that “each step of the process is

directed to the abstract process of communicating information about a mail object using a

personalized marking.” Id. at 911. And because the claims were “non-specific and lack[ed]




                                                10
 Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 15 of 21 PageID #: 62




technical detail,” utilizing “well known” technologies and generic hardware, the Federal Circuit

concluded that the claims lacked an inventive concept. Id. at 912.

       The idea underlying Claim 1 of the ’752 Patent is just as abstract as those of the Content

Extraction, Recognicorp, and Secured Mail claims. Claim 1 of the ’752 Patent does not include

any specific limitations or steps regarding extracting data or decoding the data. Rather, all of the

steps required to carry out the method are directed to the generic, conventional ideas of

recognizing an image, decoding the image, and then doing something based upon the decoded

information. Cyberfone Sys., LLC v. CNN Interactive Grp., Inc., 558 F. App’x 988, 992 (Fed.

Cir. 2014) (finding claim directed to “the well-known concept of categorical data storage, i.e.,

the idea of collecting information in classified form, then separating and transmitting that

information according to its classification, is an abstract idea that is not patent-eligible”). That

Claim 1 of the ’752 Patent sends and receives the decoded information over a network does not

make it any less abstract. See, e.g., Ultramercial, 772 F.3d at 716 (noting that “the use of the

Internet is not sufficient to save otherwise abstract claims from ineligibility under § 101”)

(citation omitted).

       Claim 1 thus differs from the claims that the Federal Circuit has held to be eligible

because they claimed specific means for improving specific computer technology or solving

specific computer problems. For example, the Federal Circuit addressed the eligibility of claims

directed to improving computer security in Ancora Technologies, Inc. v. HTC America, Inc., 908

F.3d 1343 (Fed. Cir. 2018). In that case, the Federal Circuit held the claims eligible and stated,

“Improving security—here, against a computer’s unauthorized use of a program—can be a non-

abstract computer-functionality improvement . . . done by a specific technique that departs

from earlier approaches to solve a specific computer problem.” Id. at 1348 (emphasis added).

The court was persuaded because “[t]he claimed method here specifically identifies how that

                                                  11
 Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 16 of 21 PageID #: 63




functionality improvement is effectuated in an assertedly unexpected way.” Id. The same is not

true of Claim 1 of the ’752 Patent. It does not require a specific and unconventional technique,

and it does not identify any specific improvement to computer functionality, much less an

unexpected way of effectuating such an improvement.

       By only claiming the desired result—recognizing and retrieving information associated

with a pattern like a barcode—without describing any specific roadmap for doing so, Claim 1 of

the ’752 Patent falls short of claiming eligible subject matter under § 101. See Internet Patents

Corp. v. Active Network, Inc., 790 F.3d 1343, 1348 (Fed. Cir. 2015); Secured Mail, 873 F.3d at

910–11.

               2.      Alice Step 2: Claim 1 of the ’752 Patent contains no inventive concept
                       sufficient to transform the abstract idea into patent-eligible matter.

       Because Claim 1 of the ’752 Patent is directed to an abstract idea, the Court must next

determine whether it contains an “inventive concept sufficient to transform the claimed abstract

idea into a patent eligible application.” Alice, 134 S. Ct. at 2357 (internal quotations omitted). To

pass this test, Claim 1 of the ’752 Patent “must include additional features” that “must be more

than well-understood, routine, conventional activity.” Ultramercial, 772 F.3d at 715 (quotation

omitted). Here, Claim 1 of the ’752 Patent is broadly generic and does not contain meaningful

limitations that would restrict it to a non-routine, specific application of the abstract idea.

       Each of the steps recited in Claim 1 of the ’752 Patent is described only at a high level of

generality as “capturing a digital image,” “detecting” a barcode, “decoding [the barcode] . . . to

obtain a decode string,” “sending the decode string to a remote server for processing,” “receiving

information . . . from the remote server,” and “displaying the information.” To accomplish these

steps, Claim 1 of the ’752 Patent recites the use of a “portable electronic device,” “visual

detection applications,” and a “remote server.” But the claimed “portable electronic device” can



                                                  12
 Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 17 of 21 PageID #: 64




be virtually any device capable of taking a photograph (’752 Pat., 1:58–61), the “visual detection

applications” can be a variety of off-the-shelf applications that users have installed on their

smartphones (id., 3:29–33), and the claimed “server” is implemented using generic hardware

(id., 9:65–10:1) to perform generic website functions (id., 5:33–42).

       The applicant’s own characterizations demonstrate that the claimed components do not

“improve the functioning of the computer itself,” Alice, 134 S. Ct. at 2359, for example by

disclosing an “improved, particularized method of digital data compression,” DDR Holdings,

LLC v. Hotels.com, L.P., 773 F.3d 1245, 1259 (Fed. Cir. 2014), or improving “the way a

computer stores and retrieves data in memory,” Enfish, LLC v. Microsoft Corp., 822 F.3d 1327,

1339 (Fed. Cir. 2016). For example, in Enfish, the Federal Circuit distinguished the claims from

others that “simply add[ed] conventional computer components to well-known business

practices,” id. at 1338, holding instead that “they [we]re directed to a specific improvement to

the way computers operate,” id. at 1336. In particular, the unconventional structure of the

database resulted in “increased flexibility, faster search times, and smaller memory

requirements.” Id. at 1337. Unlike Enfish, nothing in Claim 1 of the ’752 Patent shows any

unconventional method that would amount to a “specific improvement to the way computers

operate.” Therefore, the focus of the ’752 Patent is not “on [a] specific asserted improvement in

computer capabilities” but instead “on a process that qualifies as an ‘abstract idea’ for which

computers are invoked merely as a tool.” Id. at 1336.

       There is simply nothing “inventive” about using a known process (i.e., decoding a

barcode) to access a website. See Secured Mail, 873 F.3d at 912. Moreover, the abstract

functional descriptions in Claim 1 of the ’752 Patent are devoid of any technical explanation as

to how to implement the purported invention in an inventive way. See In re TLI Commc’ns LLC

Patent Litig., 823 F.3d 607, 615 (Fed. Cir. 2016) (claims failed Alice’s step 2 where specification

                                                 13
 Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 18 of 21 PageID #: 65




limited its discussion of “additional functionality” of conventional components “to abstract

functional descriptions devoid of technical explanation as to how to implement the invention”).

Similar to the invalidated claim in Recognicorp, nothing in Claim 1 of the ’752 Patent

“‘transforms’ the abstract idea of . . . decoding,” i.e., recognizing information, “into patent-

eligible subject matter.” Recognicorp, 855 F.3d at 1328 (citing Alice, 134 S. Ct. at 2357).

       Unlike the Federal Circuit’s decision in Berkheimer, this case does not present any

factual disputes requiring resolution before the Court can decide this § 101 issue. In Berkheimer,

the Federal Circuit noted that the specification explicitly “describe[d] an inventive feature that

store[d] parsed data in a purportedly unconventional manner.” Berkheimer v. HP Inc., 881 F.3d

1360, 1369 (Fed. Cir. 2018). The Federal Circuit then examined whether the improvements

described in the specification were included in the claims. For those claims where the inventive

feature in the specification was “captured in the claims,” the Federal Circuit found a “factual

dispute regarding whether the invention describe[d] well-understood, routine, and conventional

activities.” Id. But where the claims did not recite the purportedly inventive features described in

the specification, the Federal Circuit concluded that they were directed to patent ineligible

subject matter under § 101. Id. Here, in contrast, there is no need for fact discovery at all because

neither the claims nor the specification of the patent describes any unconventional components

or the use of generic components in some unconventional manner, and no amount of fact

discovery can change that.

       Courts have repeatedly held that the presence of generic hardware and software like the

kind recited in Claim 1 of the ’752 Patent does not make an otherwise abstract idea patent-

eligible. See, e.g., buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014) (“That a

computer receives and sends the information over a network—with no further specification—is

not even arguably inventive.”); Content Extraction, 776 F.3d at 1348 (“At most, [the] claims

                                                 14
 Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 19 of 21 PageID #: 66




attempt to limit the abstract idea of recognizing and storing information from hard copy

documents using a scanner and a computer to a particular technological environment. Such a

limitation has been held insufficient to save a claim in this context.”); Bancorp, 687 F.3d at

1276–77. In addition, an “abstract idea does not become nonabstract by limiting the invention to

a particular field of use or technological environment, such as [mobile services].” Intellectual

Ventures I LL v. Capital One Bank U.S.A., 792 F.3d 1363, 1366 (Fed. Cir. 2015).

       Because Claim 1 is altogether devoid of any “inventive concept,” it is patent-ineligible

under § 101. See Alice, 134 S. Ct. at 2359–60.

               3.      The remaining claims fail both steps of the Alice test.

       The remaining claims of the ’752 Patent relate to the same abstract concept of data

recognition and retrieval. Specifically, each of the other independent claims refers only to

standard computing means for decoding data. For example, the claims describe a “computer

application” comprising “logic” (’752 Pat., Cl. 17), or a “symbology management application”

(id., Cl. 24), to perform each of the steps in Claim 1 of the ’752 Patent.

       Some of the dependent claims recite limitations for: (1) running visual detection

applications in the background (id., Cl. 4); (2) configuring visual detection applications to

automatically detect barcodes (id., Cl. 5); and (3) analyzing the decode string and selecting

appropriate application to decode (id., Cl. 9). These claims also suffer from the same results-

oriented (and thus ineligible) claim language as Claim 1.

       Other dependent claims recite insignificant pre- or post-solution activity, such as

allowing a user to select certain preferences or store data:




                                                 15
 Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 20 of 21 PageID #: 67




                   Pre- or Post-Solution Activity                                  Claims

 enabling users to select certain preferences                            ’752 Patent (Cls. 2, 3, 18)

 detecting barcodes based on user request                                ’752 Patent (Cl. 7)

 sending instructions to visual detection applications and remote        ’752 Patent (Cl. 8)
 servers

 enabling the user to store information                                  ’752 Patent (Cl. 11)

 providing e-commerce options to the user                                ’752 Patent (Cl. 12)

 decoding barcodes using visual search technology                        ’752 Patent (Cls. 15, 23)

        The remaining claims recite activity like alerting the user and asking to decode a barcode,

analyzing a decode string and selecting the appropriate application to decode, allowing the user

to select an application to decode the barcode, and displaying information and images. See, e.g.,

’752 Pat., Cls. 6, 10, 13, 14, 16, 19, 20, 21, and 22.

        Each of these claims, like Claim 1 of the ’752 Patent, is not meaningfully limited because

these activities are not “essential to the invention.” Clear with Computers, LLC v. Dick’s

Sporting Goods, Inc., 21 F. Supp. 3d 758, 763 (E.D. Tex. 2014) (noting limitations must “do

more than recite pre- or post-solution activity, they [must be] central to the solution itself” to be

meaningful) (quotations omitted). Because all of these claims are directed to the abstract idea of

data recognition and retrieval and none includes any inventive concept, the claims similarly fail

both steps of the Alice test.

        B.      The Disproportionate Risk of Preemption Confirms that the Claims Are
                Abstract.

        Because the claimed methods and systems can be implemented using virtually any device

capable of taking a photograph, any off-the-shelf scanning/decoding application, and any

conventional server capable of sending and receiving information, the ’752 Patent risks

preempting all automated methods or systems for recognizing a pattern, like a barcode, and

                                                  16
 Case 1:19-cv-01021-RGA Document 7 Filed 06/25/19 Page 21 of 21 PageID #: 68




retrieving data based on that. See, e.g., Loyalty Conversion Sys. Corp. v. Am. Airlines, Inc., 66 F.

Supp. 3d 829, 843 (E.D. Tex. 2014) (finding “preemptive effect . . . broad” where “the claims

[were] largely functional in nature, they [did] not provide any significant description of the

particular means by which the various recited functions are performed,” and “[a]ll that [was]

disclosed [was] the ultimate objective”). Therefore, the claims implicate the same preemption

concern undergirding the § 101 analysis and should be found ineligible.

VI.    CONCLUSION

       For the foregoing reasons, Duracell respectfully requests that the Court dismiss

Symbology’s Complaint for failure to state a claim upon which relief can be granted. Because

leave to amend would be futile, Duracell requests dismissal with prejudice.


Dated: June 25, 2019                              FISH & RICHARDSON P.C.

                                                  By: /s/ Jeremy D. Anderson
                                                      Jeremy D. Anderson (#4515)
                                                      222 Delaware Avenue, 17th Floor
                                                      Wilmington, Delaware 19801
                                                      (302) 652-5070 (Telephone)
                                                      (302) 652-0607 (Facsimile)
                                                      janderson@fr.com

                                                       Neil J. McNabnay
                                                       Ricardo J. Bonilla
                                                       Theresa M. Dawson
                                                       Rodeen Talebi
                                                       1717 Main Street, Suite 5000
                                                       Dallas, Texas 19001
                                                       (214) 747-5070 (Telephone)
                                                       (214) 747-2091 (Facsimile)
                                                       mcnabnay@fr.com;
                                                       rbonilla@fr.com;
                                                       tdawson@fr.com
                                                       rtalebi@fr.com

                                                  ATTORNEYS FOR DEFENDANT
                                                  DURACELL U.S. OPERATIONS, INC.



                                                 17
